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12 Attorneys for Plaintiffs

13                             UNITED STATES DISTRICT COURT

14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                        Case No. 4:23-cv-04155-YGR
   PRISONERS, et al.,
16                                                       REPLY DECLARATION OF KARA
              Plaintiffs,                                JANSSEN IN SUPPORT OF
17      v.                                               PLAINTIFFS’ MOTION FOR
                                                         PRELIMINARY INJUNCTION
18 UNITED  STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, et al.,                            Judge: Hon. Yvonne Gonzalez Rogers
19            Defendants.                                Date: December 11, 2023
                                                         Time: 1:00 p.m.
20                                                       Crtrm.: Via ZOOM

21                                                       Trial Date:      None Set

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     [4394411.4]                                                    Case No. 4:23-cv-04155-YGR
      REPLY DECLARATION OF KARA JANSSEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                                         INJUNCTION
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 1                 I, Kara J. Janssen, declare:

 2                 1.     I am an attorney duly admitted to practice before this Court. I am Senior Counsel

 3 in the law firm of Rosen Bien Galvan & Grunfeld LLP, and counsel of record for the Plaintiffs and

 4 Proposed Class. I have personal knowledge of the facts set forth herein, and if called as a witness

 5 I could competently so testify. I make this reply declaration in support of Plaintiffs’ motion for

 6 preliminary injunction.

 7                 2.     Plaintiffs moved for a preliminary injunction and class certification on August 17,

 8 2023. ECF No. 10.

 9                 3.     On August 30, 2023, Assistant United States Attorney and Chief of the Civil

10 Division for the Northern District of California, Michelle Lo contacted Plaintiffs’ counsel to

11 request an extension of time to respond to the motions for preliminary injunction and class

12 certification on the grounds that the Federal Defendants had not determined which government

13 attorneys would represent them. On September 13, 2023, the Court approved an extension of the

14 Federal Defendants’ opposition deadline to October 18, 2023. ECF No. 25.

15                 4.     On October 9, 2023, the United States Attorney’s Office (USAO) for the Northern

16 District of California contacted Plaintiffs’ Counsel to request a second extension of time. The

17 Parties met and conferred by email and phone regarding the issue over the course of several days

18 and the USAO finally identified counsel on October 17, 2023. A true and correct copy of that

19 email correspondence is attached as Exhibit A. Based on this, on October 18, 2023, the parties

20 entered into another stipulation stating Defendants would be prepared to file a response by

21 November 13, 2023 although the Assistant U.S. Attorneys assigned to the matter were still

22 awaiting appointment as Special Attorneys to appear on behalf of the government in the Northern

23 District of California. See ECF No. 34 ¶¶ 5-6.

24                 5.     In the weeks following the August filing, Plaintiffs’ Counsel, including myself, met

25 with individuals at the FCI Dublin and the FCI Dublin satellite camp multiple times. Members of

26 our team visited the prison on September 26, October 3, and October 24. Across these visits, we
27 spoke with over 30 incarcerated individuals about current conditions at FCI Dublin, including

28 ongoing staff misconduct and retaliation.
     [4394411.4]                              1                     Case No. 4:23-cv-04155-YGR
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 1                 6.   Additionally, since the filing on August 16, 2023, Plaintiffs’ Counsel has been

 2 contacted by mail, phone, or via CorrLinks over two-hundred times by more than fifty unique

 3 individuals currently or formerly incarcerated at FCI Dublin regarding deterioration of conditions,

 4 harassment, retaliation, and/or ongoing sexually related misconduct of varying degrees.

 5                 7.   As of late October 2023, the United States had still not identified the specific

 6 attorneys who would be handling this matter. On October 31, 2023, Plaintiffs’ counsel wrote to

 7 the USAO for the Northern District of California and the United States Attorney for the District of

 8 Montana, describing the pattern of retaliation and asking to identify the individual attorneys

 9 assigned to this matter so the parties could meet and confer on steps to end the retaliation and

10 address ongoing reports of abuse and harassment. A true and correct copy of the October 31, 2023

11 letter is attached as Exhibit B.

12                 8.   On November 2, 2023, litigation counsel assigned to the case identified themselves

13 for the first time and replied by email stating that they prefer to address any “allegations” in this

14 proceeding on the preliminary injunction motion. A true and correct copy of the November 2,

15 2023 email is attached as Exhibit C.

16                 9.   Over the course of November 2 and 7, 2023 Plaintiffs Counsel, including myself,

17 met with a total of approximately 30 individuals incarcerated at FCI Dublin. Multiple people

18 identified ongoing staff retaliation and harassment, including sexually related misconduct. In light

19 of the increased instances of retaliation and seriousness of the potential harm, Plaintiffs’ counsel

20 wrote to counsel for Defendants advising them of our intention to file a supplemental statement

21 detailing the facts referenced in our October 31, 2023 letter supported by declarations so that the

22 parties could address the ongoing issues as part of the proceeding on the preliminary injunction

23 motion and proposing that the parties adjust the briefing schedule to allow Defendants to address

24 these issues while keeping the December 11, 2023 hearing date. Counsel for Defendants

25 responded that they were unwilling to agree to this and instead proposed that Plaintiffs withdraw

26 the pending preliminary injunction motion, vacate the hearing date, and re-file. Plaintiffs’ counsel
27 responded that given the dire conditions at FCI Dublin Plaintiffs would forego filing any

28 supplemental evidence at that time. A true and correct copy of the November 9, 2023 email
     [4394411.4]                              2                     Case No. 4:23-cv-04155-YGR
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 1   con-espondence is attached as Exhibit D.

 2                 10.    Plaintiffs’ counsel continues to be contacted on a daily basis by individuals at FCI

 3 Dublin and the associated camp regarding ongoing misconduct. Since November 7, 2016,
 4 Plaintiffs’ counsel had an additional visit at FCI Dublin on November 16, 2023, and again heard
 5 reports of recent staff abuse and retaliation. We have also received multiple communications from
 6 individuals at the FCI Dublin camp alleging recent sexual abuse by an officer, and are in the
 7 process of following up on with the incarcerated individuals involved.
 8                 I declare under penalty of perjury under the laws of the State of California that the

 9 foregoing is true and correct, and that this declaration is executed at San Francisco, CA this 22nd
10 day of November, 2023.
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                                                              Kara J. Janssen
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     14394411,4]                                             3       Case No. 4:23-cv-04155-YGR
      REPLY DECLARATION OF KARA .lANSSEN IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                                          IN.TUNCTION
